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                EXHIBIT A
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Park, Caroline B.

From:                      Krystal, John <john.krystal@yale.edu>
Sent:                      Monday, January 13, 2020 8:14 AM
To:                        Lee, Bandy
Cc:                        Zonana, Howard; DonoghoeH
Subject:                   Follow-up



Dear Bandy,

I would like to meet with you and Howard to review your recent public statements,
particularly these two recent statements:

-(Salon): advocating for the involuntary evaluation of President Trump and saying that a
“mental health hold” is becoming inevitable.

-(Raw Story): stating that Alan Dershowitz and President Trump have a “shared delusion”
based on a single public comment.

It seems to me, and my impression is supported by my discussion with Howard, that the
published quotes suggest that you are not making cautious, reasoned, statements qualified by
the limitations of the information that you have or considering alternatives to the conclusions
that you present. Worse, the recklessness of your comments creates the appearance that they
are self-serving in relation to your personal political beliefs and other possible personal
aspirations.

Here is the problem for me. It seems to me that you have been increasingly reckless and
irresponsible in your public statements. I have tried very hard to find a path that would enable
you to continue your teaching role. However, you are putting me in a position where I have to
ask, “Is this the sort of person that I can trust to teach medical students, residents, and
forensic psychiatry fellows?” I have consulted Howard Zonana on this question and he is
equally concerned that you are not showing good medical judgement in your public
statements. It is our shared opinion that if your behavior does not change, we will have no
alternative but to terminate your teaching role at Yale University. As you have no other duties
at Yale, termination of your teaching role would also terminate your faculty appointment.

I think that the three of us should meet to review your recent comments and your plans for
future comments. Perhaps we can find a path forward. I will ask Halppen Donoghoe to set up
this meeting.

Sincerely,
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John

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